
966 So.2d 819 (2007)
STATE of Louisiana
v.
Fay PEREZ, III.
No. 07-236.
Court of Appeal of Louisiana, Third Circuit.
October 3, 2007.
Michael Harson, District Attorney, Ted L. Ayo, Assistant District Attorney, Abbeville, Louisiana, for State of Louisiana.
Mark O. Foster, Louisiana Appellate Project, Natchitoches, Louisiana, for Defendant/Appellant, Fay V. Perez, III.
Court composed of ULYSSES GENE THIBODEAUX, Chief Judge, MARC T. AMY, and MICHAEL G. SULLIVAN, Judges.
SULLIVAN, Judge.
For the reasons assigned in State v. Perez, 07-229 (La.App. 3 Cir. 10/3/07), 966 So.2d 813, 2007 WL 2850578, this matter is remanded to the trial court for another evidentiary hearing to determine whether the State's agreement to Defendant's plea was invalidated by vacation of the restitution to victims whose cases were dismissed. If the trial court imposes restitution as a condition of probation, it is instructed not to order restitution to a victim's insurer and to establish a determinate, specified payment plan for all fees and restitution amounts.
REMANDED WITH INSTRUCTIONS.
